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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


TEXAS ASS’N FOR MONEY SERVICES
BUSINESSES (TAMSB), et al.

       Plaintiffs,

                       v.

PAMELA BONDI, in her official capacity as
Attorney General; SCOTT BESSENT, in his
                                                        Civil Action No. 25-cv-344
official capacity as Secretary of the Treasury;
UNITED STATES DEPARTMENT OF THE
TREASURY; ANDREA GACKI, in her
official capacity as the Director of the
Financial Crimes Enforcement Network;
FINANCIAL CRIMES ENFORCEMENT
NETWORK,

       Defendants.


                                     NOTICE OF APPEAL

       PLEASE TAKE NOTICE that all Defendants (Pamela Bondi, in her official capacity as

Attorney General; Scott Bessent, in his official capacity as Secretary of the Treasury; the United

States Department of the Treasury; Andrea Gacki, in her official capacity as the Director of the

Financial Crimes Enforcement Network (“FinCEN”); and FinCEN) hereby appeal to the United

States Court of Appeals for the Fifth Circuit from this Court’s Order Granting Plaintiffs’ Motion

for a Preliminary Injunction dated May 19, 2025, ECF No. 59.

Dated June 13, 2025                           Respectfully submitted,

                                                  BRETT A. SHUMATE
                                                  Assistant Attorney General

                                                  STEPHEN M. ELLIOTT
                                                  Assistant Director, Federal Programs Branch

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                             /s/ Amy E. Powell_____________________
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